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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

In Re:
Lilia Belkova, Case: 3:13-bk-07570-JAF
Debtor, Chapter 12

 

Lilia Belkova,

Plaintiff,
Vv. Adversary No. 3:i8-ap-O0180-JAF
PNC Bank, N.A.,
Defendant.

 

 

VOLUME I
DEPOSITION OF LILIA BELKOVA

TAKEN AT THE INSTANCE OF DEFENDANT

PLACE AND TIME:

Thursday, October 10, 2019
Wellington Professional Centre
12161 Ken Adams Way
Wellington, FL 33414
11:06 - 3:50 p.m.

Karen J. Kiotz, FPR
Certified Court Reporting, LLC
231 Ponce de Leon Street
Royal Palm Beach, FL 33411
(561) 798-4951

 

 
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APPHARANCES:

ON BEHALF OF THE PLAINTIFF:

Lilia Belkova, Pro Se
4251 Buck Ridge Trail
Loxahatchee, Fl 33470

ON BEHALF OF THE DEFENDANT:

McGlinchey Stafford

10407 Centurion Parkway North
Suite 200

Jacksonville, FL 32256

By: Kimberly Hela israel, Esquire

 

 
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A. But I do recall that I was somehow using
that LLC for my mother's property purchase,

Oo, What is your motherts name?

A. Anisa Nazarova.

QO. And can you please spell that for the
record?

A. It's spelled A-n-i-s-a and also A-n-i-s-s-a,.
And Nazarova, N-a-z-a-r-o-v-a.

oO. How old is your mother?

A. She was born in 1940.

Q. Do you recall when?

A. Yeah, in February.

QO. Where does she currently live?

A. In Russia.

QO. Has she ever lived in the United States? I
don't mean just for visits.

A. No,

Q. She does not live at 2251 Buck Ridge frail,

correct?

A. Correct.

Q. She does not live at 14701 Northwest 83rd
Place in Morriston, correct?

A. Correct.

QO. She does not live at 3351 Southeast 186th

Avenue in Morriston, correct?

 

 
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A. Correct.

Q. Has she ever lived at any of those
addresses, not visits, just living?

A. She was never able to obtain a visa to visit
legally. And because, I guess, my Citizenship took
$0 long, I wasn't able to --

Q. Bring her over?

A. -= bring her,

QO. Where in Russia does she live?

A. In a little village called Barda, B-a-r-d-a

in the Perm area.

Q. In the --

A. Perm, P-é-r-m.

QO. P-e-r-m?

A. Yeeh, area. That's my best translation.
Q. That's okay. Thank you. Does your mother

speak English?

A. No.

Q. Can she read or write in English?

A. No.

Q. Are you able to communicate with her by
telephone?

A. When she calls.

Q. You can't place calls out, she has to call

you?

 

 
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A. Yeah.

QO. Are you able to communicate with her by
email?

A. she never used computers.

QO. so the answer is no?

A. No. Mm-hmm.

Q. Logistically, how are you able to invest in
properties for her with her in Russia, you in the
U.S., and the distance and the various barriers and

obstacles?
A. My mother lived with me in Fngland when I
was —- when I started visiting America, we were

planning to relocate to America.

Q. You were going to relocate together?

A. Yes,

Q. Okay.

A. And so she was there with my father in
England. I started visiting America, build up
credit, open bank accounts. It was very difficult
for me with just a visa. I visited New York first

and did all that,

And I went to buy the properties for her
because we had horses, Those Russian horses were
already imported to England.

My mother was a zoo engineér by vocation

 

 
